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                                  OFFICE OF THE CLERK
                              UNITED STATES DISTRICT COURT
                                 Northern District of California

                                 *AMENDED CIVIL MINUTES

 Date: August 28, 2024               Time: 11:39-12:48                 Judge: EDWARD M. CHEN
                                           1 hour, 9 minutes

 Case No.: 21-cv-04062-EMC           Case Name: Guardant Health, Inc. v. Natera, Inc.

Attorneys for Plaintiff: Saul Perloff, Chase Scolnick, Christopher LaVigne, Jennifer Keller
Attorneys for Defendant: Andrew Bramhall, Victoria Maroulis, Brian Cannon, Elle Wang,
Ryan Landes, Jocelyn Ma, Valerie Lozano

 Deputy Clerk: Vicky Ayala                        Court Reporter: Kelly Shainline


                              PROCEEDINGS HELD VIA ZOOM

Motion to Strike and Motion for Miscellaneous Relief – held

                                           SUMMARY

Parties stated appearances.

Natera’s Motion to Strike and/or Exclude (Docket No. 585), and Guardant’s Daubert Motion
(Docket No. 568), were argued and taken under submission.
The Court heard an update regarding Guardant’s efforts to secure evidence in Denmark. The
Court reiterated to both Parties that this evidence is still relevant, Dkt. Nos 153 and 157, and the
Parties are expected to represent this continued relevance to the relevant Danish authorities.
*Guardant requested leave to file further motions regarding additional discovery as a result of a
deposition taken on June 7. The request comes nearly 3 months late. This request was DENIED.
The Court further ordered that except for pretrial submissions that this Court has already
*scheduled, there shall be NO further pretrial submissions, without express leave of Court and a
showing of GOOD CAUSE.
